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13                        UNITED STATES DISTRICT COURT
14          CENTRAL DISTRICT OF CALIFORNIA – WESTERN DIVISION
15   A.P. and Y.Z.,                            Case No.: 2:23-cv-01621-FLA-KES
16
                             Plaintiffs,
17                  vs.                        JOINT STATUS REPORT RE:
                                               SETTLEMENT
18   CHA HEALTH SYSTEMS, INC.,
     COMPREHENSIVE HEALTH FOR                  Hon. Fernando L. Aenlle-Rocha
19   ALL FERTILITY MEDICAL GROUP,
20   INC., D/B/A CHA FERTILITY
     CENTER LOS ANGELES, CHA
21   FERTILITY CENTER LOS ANGELES,
     JOSHUA J. BERGER, M.D., and
22   SIMON HONG, PH.D,
23
24                           Defendants.

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                             JOINT STATUS REPORT RE: SETTLEMENT
     290849024v.1
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 1                     JOINT STATUS REPORT RE: SETTLEMENT
 2           Defendant CHA Health Systems, Inc. (“CHA Health”), plaintiffs A.P. and
 3   Y.Z. (“plaintiffs”), and defendants Comprehensive Health for All Fertility Medical
 4   Group, Inc., d/b/a CHA Fertility Center Los Angeles, and Simon Hong, Ph.D.
 5   (collectively “CHA Fertility Center”) hereby submit this joint status report re:
 6   settlement.
 7           On December 14, 2023, these parties reached a full settlement of this matter
 8   through mediation with Judicate West. The parties submit this report because all
 9   defendants’ partial motions to dismiss are pending before this Court, having been
10   taken on the papers on October 10, 2023. The parties will report further once the
11   settlement is finalized, as well as take all other necessary steps in that regard.
12                                     Respectfully submitted,
13
14   Dated: December 15, 2023             WILSON ELSER MOSKOWITZ EDELMAN &
                                          DICKER LLP
15
16                                        By: /s/ Michael J. O’Malley
                                              Michael J. O’Malley
17                                            Shannon L. Santos
18                                            Attorneys for Defendant CHA Health
                                              Systems, Inc.
19
20   Dated: December 15, 2023             FRIAR LEVITT, LLC
                                          By: /s/ Dae Y. Lee
21                                            Jonathan E. Levitt
22                                            Dae Y. Lee
                                              Attorneys for Plaintiffs A.P. and Y.Z.
23
24   Dated: December 15, 2023             FRASER WATSON & CROUTCH LLP
                                          By: /s/ Todd Croutch
25                                            Todd E. Croutch
26                                            Louise M. Douville
                                              Attorneys for Defendants Comprehensive
27                                            Health for All Fertility Medical Group, Inc.,
28                                            d/b/a CHA Fertility Center Los Angeles, and
                                              Simon Hong, Ph.D.

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                               JOINT STATUS REPORT RE: SETTLEMENT
     290849024v.1
